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      Exhibit G
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Whois gramsflow.com                                                                                                                              Page 1 of 3


                                                                                                                                                      WHOIS


                                               NEW

  DOMAINS            HOSTING          CLOUD          WEBSITES           EMAIL         SECURITY      WHOIS         SUPPORT                LOGIN              0



 gramsflow.com                                                                             Updated 1 second ago

  DOMAIN INFORMATION


                                                                                                                                .club
  Domain:             gramsflow.com
  Registrar:          Chengdu West Dimension Digital Technology Co., Ltd.
  Registration Date: 2014-06-03


                                                                                                                                            0.98
  Expiration Date:    2018-06-03                                                                                       $                   $
  Updated Date:       2017-12-04                                                                                           11.88
  Status:             clientDeleteProhibited
                      clientTransferProhibited                                                                                      BUY NOW
                      clientUpdateProhibited
  Name Servers:       f1g1ns1.dnspod.net
                      f1g1ns2.dnspod.net                                                                                    *Offer ends 31st January 2018



                                                                                                                                  Hot Deals!
  REGISTRANT CONTACT
  Name:               yinsi baohu yi kai qi(Hidden by Whois Privacy Protection Service)
  Organization:       yinsi baohu yi kai qi(Hidden by Whois Privacy Protection Service)
  Street:             tian xiang da sha,405#,wan he lu 99hao,Chengdu,China
  City:               Chengdu
  State:              Sichuan
  Postal Code:        610067
                                                                                                                             .PW @ $0.98 $9.88
  Country:            China
  Phone:              +8628.86262244
  Fax:                +8628.86262244
  Email:                           @hkdns.hk



  ADMINISTRATIVE CONTACT
  Name:               yinsi baohu yi kai qi(Hidden by Whois Privacy Protection Service)
  Organization:       yinsi baohu yi kai qi(Hidden by Whois Privacy Protection Service)
  Street:             tian xiang da sha,405#,wan he lu 99hao,Chengdu,China
  City:               Chengdu
  State:              Sichuan
  Postal Code:        610067
  Country:            China
  Phone:              +8628.86262244
  Fax:                +8628.86262244
  Email:                           @hkdns.hk



  TECHNICAL CONTACT
  Name:               yinsi baohu yi kai qi(Hidden by Whois Privacy Protection Service)
  Organization:       yinsi baohu yi kai qi(Hidden by Whois Privacy Protection Service)
  Street:             tian xiang da sha,405#,wan he lu 99hao,Chengdu,China
  City:               Chengdu
  State:              Sichuan
  Postal Code:        610067
  Country:            China
  Phone:              +8628.86262244
  Fax:                +8628.86262244
  Email:                           @hkdns.hk




https://www.whois.com/whois/gramsflow.com                                                                                                        01/26/2018
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Whois gramsflow.com                                                                                 Page 2 of 3
  RAW WHOIS DATA
  Domain Name: gramsflow.com
  Registry Domain ID: whois protect
  Registrar WHOIS Server: whois.west.cn
  Registrar URL: www.west.cn
  Last updated Date: 2014-06-03T01:45:09.0Z
  Creation Date: 2014-06-03T01:45:09.0Z
  Expiration Date: 2018-06-03T01:45:09.0Z
  Registrar Registration Expiration Date: 2018-06-03T01:45:09.0Z
  Registrar: Chengdu west dimension digital technology Co., LTD
  Registrar IANA ID: 1556
  Reseller:
  Domain Status: clientDeleteProhibited http://www.icann.org/epp#clientDeleteProhibited
  Domain Status: clientTransferProhibited
  http://www.icann.org/epp#clientTransferProhibited
  Domain Status: clientUpdateProhibited http://www.icann.org/epp#clientUpdateProhibited
  Registry Registrant ID: cn77094433348516
  Registrant Name: yinsi baohu yi kai qi(Hidden by Whois Privacy Protection Service)
  Registrant Organization: yinsi baohu yi kai qi(Hidden by Whois Privacy Protection
  Service)
  Registrant Street: tian xiang da sha,405#,wan he lu 99hao,Chengdu,China
  Registrant City: Chengdu
  Registrant State/Province: Sichuan
  Registrant Postal Code: 610067
  Registrant Country: China
  Registrant Phone: +8628.86262244
  Registrant Phone Ext:
  Registrant Fax: +8628.86262244
  Registrant Fax Ext:
  Registrant Email:          @hkdns.hk
  Registry Admin ID: cn77094433348516
  Admin Name: yinsi baohu yi kai qi(Hidden by Whois Privacy Protection Service)
  Admin Organization: yinsi baohu yi kai qi(Hidden by Whois Privacy Protection Service)
  Admin Street: tian xiang da sha,405#,wan he lu 99hao,Chengdu,China
  Admin City: Chengdu
  Admin State/Province: Sichuan
  Admin Postal Code: 610067
  Admin Country: China
  Admin Phone: +8628.86262244
  Admin Phone Ext:
  Admin Fax: +8628.86262244
  Admin Fax Ext:
  Admin Email:          @hkdns.hk
  Registry Tech ID: cn77094433348516
  Tech Name: yinsi baohu yi kai qi(Hidden by Whois Privacy Protection Service)
  Tech Organization: yinsi baohu yi kai qi(Hidden by Whois Privacy Protection Service)
  Tech Street: tian xiang da sha,405#,wan he lu 99hao,Chengdu,China
  Tech City: Chengdu
  Tech State/Province: Sichuan
  Tech Postal Code: 610067
  Tech Country: China
  Tech Phone: +8628.86262244
  Tech Phone Ext:
  Tech Fax: +8628.86262244
  Tech Fax Ext:
  Tech Email:          @hkdns.hk
  Name Server: f1g1ns1.dnspod.net
  Name Server: f1g1ns2.dnspod.net
  DNSSEC: signedDelegation
  Registrar Abuse Contact Email:          @gmail.com
  Registrar Abuse Contact Phone: +86.28.86263960 ext 8364
  URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/
  >>> Last update of WHOIS database: 2014-06-08T01:58:01.0Z <<<
  For more information on Whois status codes, please visit
  https://www.icann.org/resources/pages/epp-status-codes-2014-06-16-en

  <a title='' href='http://www.west.cn/' target='_blank'><img
  src='http://www.west.cn/newimages/whoisads.jpg' border='0'></a>



 related domain names
 west263.com   west.cn   gmail.com   icann.org   dnspod.net   hkdns.hk   internic.net




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Register Domain Name                     Linux Hosting



https://www.whois.com/whois/gramsflow.com                                                           01/26/2018
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Whois gramsflow.com                                                                                      Page 3 of 3
Transfer Domain Name             Windows Hosting
                                                               Enter a Domain Name
View Domain Pricing              Linux Reseller Hosting
Bulk Domain Register             Windows Reseller Hosting
Whois Lookup                     Virtual Private Servers
Name Suggestion Tool             Dedicated Servers               LOGIN            OR
Free with Every Domain           Managed Servers
Domain Offers                    Cloud Hosting                   CREATE AN ACCOUNT
                                 Website Builder
Infrastructure                   Business Email
Datacenter Details               Enterprise Email
Hosting Security                 SSL Certificates
24 x 7 Servers Monitoring        Sitelock
Backup and Recovery              CodeGuard


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https://www.whois.com/whois/gramsflow.com                                                                01/26/2018
